IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANET MONGE, :
Plaintiff : CIVIL ACTION
v.

UNIVERSITY OF PENNSYLVANIA ef al.,
Defendants : No, 22-2942

ORDER
AND NOW, this At day of September, 2022, upon consideration of the Plaintiff Janet
Monge’s letter to the Court submitted via fax on September 27, 2022, it is hereby ORDERED that
Defendants must file any replies to Ms. Monge’s Oppositions to the Defendants’ Motions to

Dismiss on or before October 11, 2022.

THE COURT:

d. LEE

GENICE.K. PRATTER
GENIE STATES DISTRICT JUDGE

  

 
